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                              14   The Real USFL, LLC
                              15   Additional counsel on the inside page
                              16                        UNITED STATES DISTRICT COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
                              17                             WESTERN DIVISION
                              18   THE REAL USFL, LLC, a New York              Case No. 2:22-cv-1350
                                   limited liability company,
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                                                             Plaintiff,
                              20                                               COMPLAINT
                                         v.
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                                   FOX SPORTS, INC, a Delaware
                              22   corporation; THE SPRING LEAGUE,             DEMAND FOR JURY TRIAL
                                   LLC, a Delaware limited liability
                              23   company; USFL ENTERPRISES,
                                   LLC, a Delaware limited liability
                              24   company,
                              25                             Defendants.
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                              1          Plaintiff The Real USFL LLC (the “Real USFL”) brings this action against
                              2    Defendants for injunctive relief and damages. The allegations herein are made based
                              3    on personal knowledge of the Real USFL and its members as to their own actions and
                              4    interactions, and upon information and belief as to all other matters.
                              5                               NATURE OF THE ACTION
                              6          1.    Last year, Defendants Fox Sports, Inc., The Spring League, LLC, and
                              7    USFL Enterprises, LLC (collectively “Fox”) announced the creation of a purportedly
                              8    new professional football league named the “USFL” or the “United States Football
                              9    League” (hereafter, “Fox’s League”). Three months ago, Fox further announced that
                              10   the new league’s 2022 season would begin on April 22, 2022, with eight teams: the
                              11   Michigan Panthers, the New Jersey Generals, the Philadelphia Stars, the Pittsburg
                              12   Maulers, the Birmingham Stallions, the Houston Gamblers, the New Orleans
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                              13   Breakers, and the Tampa Bay Bandits.
    LOS ANGELES, CA




                              14         2.    But Fox’s USFL franchise is an unabashed counterfeit. The original
                              15   USFL (the “USFL” or the “League”)—with which Fox has no association—was a
                              16   professional football league that played in the 1980s and was serious competition to
                              17   the National Football League (“NFL”). Indeed, the USFL once fielded teams with
                              18   now-legendary players like Jim Kelley, Reggie White, Doug Flutie, Steve Young,
                              19   Herschel Walker, Kelvin Bryant, and many others. Hundreds of millions of dollars
                              20   were invested into the development of the USFL, which was launched with the
                              21   support of legendary executives such as the Hall of Fame fullback and former
                              22   President and General Manager of the Jacksonville Bulls, Larry Csonka, and the
                              23   President, General Manager, and part owner of the original Philadelphia/Baltimore
                              24   Stars, Carl Peterson.
                              25         3.    The League was the subject of one of ESPN’s first “30-for-30” sports
                              26   documentaries and has been detailed in multiple books. It also had—and continues
                              27   to have—a mass following with enduring demand for USFL merchandise. Fox has
                              28   no claim to this legacy and no right to capitalize on the goodwill of the league. Much
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                                                                      COMPLAINT
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                              1    less does Fox have a right to deceive the public into believing that it is the USFL—or
                              2    that Fox’s League’s teams were the USFL teams.
                              3          4.    Yet, that is precisely what Fox has done. It has taken the name and logo
                              4    of the original league, its team names, and team logos to which it has no right. And,
                              5    to make matters worse, it has traded on the false narrative that Fox’s League and
                              6    USFL teams are the offspring of the originals. They are not. Plaintiff brings this
                              7    action to recover the legacy and marks of the USFL and its original teams that Fox so
                              8    brazenly seeks to misappropriate for itself.
                              9                                       THE PARTIES
                              10         5.    Plaintiff the Real USFL is a New York limited liability company with a
                              11   principal place of business at One Manhattan West, 395 9th Avenue, 50th Floor, New
                              12   York, NY. The Real USFL is a holding company possessing all rights and interest
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                              13   the Real USFL Marks (as that term is defined below).
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                              14         6.    Defendant Fox Sports, Inc. is a Delaware corporation with a principal
                              15   place of business at 10201 West Pico Boulevard Los Angeles, CA.
                              16         7.    Defendant The Spring League, LLC is a Delaware limited liability
                              17   company with a principal place of business at 3524 Silverside Road, Suite 35B
                              18   Wilmington, Delaware 19810.
                              19         8.    Defendant USFL Enterprises, LLC is a Delaware limited liability
                              20   company with a principal place of business at 10201 West Pico Boulevard Los
                              21   Angeles, CA. Upon information and belief, USFL Enterprises, LLC is a wholly-
                              22   owned subsidiary of Fox Sports, Inc.
                              23                             JURISDICTION AND VENUE
                              24         9.    This action arises under the Lanham Act, 15 U.S.C. §§ 1051, et seq.
                              25   Accordingly, the Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                              26   (federal question) and 28 U.S.C. § 1338(a) (action arising under an Act of Congress
                              27   relating to trademark and copyright).
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                                                                      COMPLAINT
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                              1             10. Each Defendant is subject to personal jurisdiction in this Court based on
                              2    continuous and systematic contacts within this judicial district.         In multiple
                              3    documents filed with government entities, Defendants state that their address is 10201
                              4    West Pico Boulevard Los Angeles, CA.
                              5             11. Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and
                              6    1400(a) as Defendants Fox Sports, Inc. and USFL Enterprises, LLC themselves claim
                              7    to have their principal place of business in this district.
                              8                                     FACTUAL BACKGROUND
                              9    A.        The USFL: 1982 – 1986
                              10            12. Nearly four decades ago, a small group of investors launched a springtime
                              11   professional football league called the “United States Football League” or “USFL.”
                              12   For three seasons from 1983 through 1985, the USFL built a large and loyal fan base
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                              13   by providing an innovative and high-quality football product to millions of fans across
    LOS ANGELES, CA




                              14   the country. Even before the league kicked off in March 1983, the USFL shocked the
                              15   world when the New Jersey Generals signed three-time All American and Heisman
                              16   Trophy winner Herschel Walker to the then-largest contract in the history of
                              17   professional football. This was just the beginning as over half of all USFL players
                              18   played in the NFL,1 and several USFL alumni went on to have Hall of Fame careers
                              19   including Reggie White, Jim Kelly, Steve Young, Gary Zimmerman, George Allen,
                              20   Marv Levy, Sid Gillman, Bill Polian, and 2022 inductee Sam Mills. Other noteworthy
                              21   alumni include Doug Flutie, Sean Landeta, Anthony Carter, Jim Mora, Steve Spurrier,
                              22   Lee Corso, and many more.
                              23            13. As detailed in an ESPN 30 for 30 documentary, countless articles, and
                              24   multiple books, the USFL ceased play in 1986 following an ill-advised attempt to
                              25   move its season to fall to compete head-to-head with the NFL and a pyrrhic antitrust
                              26   suit against its larger rival.
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                                       https://www.usflsite.com/nflplayers2.php.
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                                   Case 2:22-cv-01350 Document 1 Filed 02/28/22 Page 6 of 37 Page ID #:6




                              1          14. During its run, the USFL obtained registration in nearly 400 trademarks
                              2    for the USFL name and logo, as well as the names and logos for 18 different teams.
                              3    Plaintiff, the Real USFL, is a company created by former USFL team owners and
                              4    devisees to hold their interests in the USFL’s intellectual property (the “Real USFL
                              5    IP”) and preserve the league’s legacy.
                              6    B.    The USFL: 1986 – Present
                              7          15. The legacy of the USFL lives on today, in part, due to Steve Ehrhart’s
                              8    contributions of on behalf of the League’s original owners. Mr. Ehrhart is currently
                              9    Executive Director of the AutoZone Liberty Bowl, a respected college football bowl
                              10   game that has been played annually for more than sixty years at Liberty Bowl
                              11   Memorial Stadium in Memphis, Tennessee. Mr. Ehrhart’s storied career in sports
                              12   also includes roles as president of Major League Baseball’s Colorado Rockies, and
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                              13   more recently, he was a minority owner of the National Basketball League’s Memphis
    LOS ANGELES, CA




                              14   Grizzlies. Before all of that, however, Mr. Ehrhart served in the USFL League Office
                              15   as Executive Director and later became President, General Manager, and part owner
                              16   of the Memphis Showboats, one of the League’s teams.
                              17         16. In 1986, the USFL’s owners elected Mr. Ehrhart to serve as the League’s
                              18   Chairman of the Executive Committee. In this capacity, Mr. Ehrhart has collected
                              19   the USFL’s damages and attorneys’ fee awards from the NFL and disbursed the
                              20   attorneys’ fee award as determined by the USFL owners. Over the years, Mr. Ehrhart
                              21   has also worked to preserve the USFL’s legacy by, among other things, organizing
                              22   league and team reunions, and authorizing and appearing in the 30 for 30
                              23   documentary.    Relevant here, Mr. Ehrhart has also entered into certain media
                              24   licensing arrangements on behalf of the USFL for apparel, books, and other media.
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                              1                 1.      Apparel Licensing
                              2           17. For over 30 years, American Classics, Inc. (“American Classics”) has
                              3    established itself as a leading wholesaler of licensed entertainment apparel. The
                              4    company produces officially licensed t-shirts for household brand names like Warner
                              5    Brothers, Sony, Universal Studios, and Disney. Retailers can purchase American
                              6    Classics’ merchandise on the company’s website www.americanclassicsonline.com,
                              7    and consumers can find the company’s t-shirts on the racks of big-box retailers such
                              8    as Kohl’s and Old Navy, among a number of other smaller retailers.
                              9           18. In July 2011, Mr. Ehrhart, acting on behalf of the USFL, entered into a
                              10   world-wide licensing agreement with American Classics to produce throwback t-
                              11   shirts bearing the names and logos the USFL’s teams (the “Apparel License”). The
                              12   Apparel License provided that in exchange for a 12% royalty, American Classics
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                              13   would make its “best efforts to offer for sale” by September 30, 2011, apparel using
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                              14   the “names, logos, [and] images of the USFL and its member teams from 1983, 1984,
                              15   and 1985” (the “USFL Apparel”).
                              16          19. On August 11, 2011, David Brown, American Classics’ President,
                              17   presented to Mr. Ehrhart for approval the proposed designs of 26 t-shirts bearing the
                              18   USFL logo and/or the marks of each of the 18 USFL teams. Mr. Ehrhart approved
                              19   these designs, and by no later than October 24, 2011, American Classics listed the
                              20   USFL among the brands it licensed on its website.2 USFL Apparel was available to
                              21   retailers on American Classics’ website by no later than November 19, 2011.3
                              22          20. The USFL Apparel was marketed to consumers no later than November
                              23   4, 2011:4
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                                     https://web.archive.org/web/20111024180854/http://americanclassicsonline.com:80/
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                                     https://web.archive.org/web/20111119150938/http://americanclassicsonline.com/home.php? Cat
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                                   =154
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                              28     https://web.archive.org/web/20111104072343/http://slingshottshirts.com/pop-culture-t-shirts/usfl
                                   -t-shirts.html#expand. Slingshot T-Shirts was once a retail partner of American Classics.
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                                                                           COMPLAINT
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                              19             21. Royalty statements issued by American Classics indicate that in the fourth
                              20   quarter of 2011, American Classics sold more than 75 units of the USFL Apparel.
                              21   Demand for the USFL Apparel has remained steady since and American Classics has
                              22   made regular quarterly royalty payments to “the United States Football League c/o
                              23   Steve Ehrhart” every quarter through fourth quarter 2021. Mr. Ehrhart has deposited
                              24   each and every check and has not made a single withdrawal from the account.
                              25                   2.      Book Licensing
                              26             Paul Reeths, an author, avid USFL fan, and sports historian,5 first contacted
                              27   Mr. Ehrhart in July 2009 to discuss an anticipated book providing a definitive history
                              28   5
                                       Mr. Reeths is the founder of OurSports Central (https://www.oursportscentral.com/), the internet’s
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                                                                              COMPLAINT
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                              1    of the USFL. Over the ensuring years, Mr. Reeths and Mr. Ehrhart held several
                              2    discussions on the contents of the book, each chapter of which was sent to Mr. Ehrhart
                              3    for approval. On July 6, 2016, prior to publication, Mr. Ehrhart provided to Mr.
                              4    Reeths a written release to use the USFL league and team logo. Mr. Reeth’s book,
                              5    The United States Football League, 1982-1986, was published by McFarland &
                              6    Company on April 3, 2017.
                              7                3.    Film Licensing
                              8          22. Mr. Ehrhart has also licensed the USFL marks for use in two separate
                              9    films documenting the history of the League and its most successful team, two-time
                              10   USFL Champion Philadelphia and Baltimore Stars.
                              11         23. Ken Dunek played all three USFL seasons with the Stars as a starting tight
                              12   end. His accomplishments in the League are recognized today in the Pro Football
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                              13   Hall of Fame where his jersey hangs next to the USFL Championship Trophy.
    LOS ANGELES, CA




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                              23         24. Today, Mr. Dunek is both a successful businessman and filmmaker. In
                              24   late 2006, Mr. Dunek contacted the Stars’ former owner and then-Kansas City Chiefs
                              25   President, Carl Peterson, regarding a planned film named “Field Mouse,” a
                              26   documentary detailing the life and career of Mr. Dunek’s former Stars teammate, Hall
                              27
                              28   largest resource of minor league sports news, along with the original USFL website
                                   https://www.usflsite.com/.
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                                                                     COMPLAINT
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                              1    of Fame Linebacker Sam Mills. Mr. Peterson suggested to Mr. Dunek that prior to
                              2    pursuing the film, he should request the rights to use the USFL league and team marks
                              3    from Mr. Ehrhart.
                              4           25. Mr. Dunek made initial contact with Mr. Ehrhart in October 2006
                              5    regarding his plans for the film and a potential license for the USFL marks. The two
                              6    stayed in contact regarding the status of the project, and on April 21, 2008, Mr.
                              7    Ehrhart executed a written release granting Mr. Dunek “the rights to use the USFL
                              8    name, logo, likeness, and game footage video” for the film.
                              9           26. Mr. Dunek and his team continue to pursue the project today and have
                              10   made substantial progress to those ends, including securing name and likeness rights
                              11   for Mr. Mills, obtaining substantial financing, finalizing the screenplay, and
                              12   marketing the film to production studios across the country. On March 7, 2011, The
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                              13   Philadelphia Inquirer published an article detailing Mr. Dunek’s plans for Field
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                              14   Mouse.6
                              15          27. In July 2010, Mr. Dunek again contacted Mr. Ehrhart regarding a separate
                              16   film project involving the Stars. This project, named “The Team that Time Forgot,”
                              17   once had a website for the film, and an archive version of which shows that the
                              18   website contained links to multiple relevant articles and blog posts, including a July
                              19   22, 2010, article in The Philadelphia Inquirer discussing the film.7 The website also
                              20   contained the film’s trailer, a copy of which can still be found on the video hosting
                              21   service, Vimeo.8 The film also has Facebook fan page with more than 400 followers
                              22   and hundreds of posts between July 2010 and January 2014. Mr. Dunek and his team
                              23   have secured significant financing for the film, and have marketed it to major studios
                              24   including Sony, DreamWorks, and ESPN. Plans to produce the film are ongoing.
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                                          https://www.inquirer.com/philly/sports/eagles/20110307_Stan_Hochman_Dunek_wants_to_
                                   make_stars_of_the_Stars.html.
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                                     https://www.inquirer.com/philly/blogs/inq-phillydeals/Philadelphias_football_Stars_in_ movie_
                              28   project.html.
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                                     https://vimeo.com/14377648; https://vimeo.com/20390950.
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                              1    C.      Fox’s Claimed USFL Marks
                              2             28. On March 24, 2011, an entity named United States Football League, LLC
                              3    (the “2011-USFL”)9 filed an application with the United States Patent and Trademark
                              4    Office (“USPTO”) for a standard character trademark registration of the term
                              5    “USFL.” The USPTO registered this mark on June 26, 2012, as Reg. No. 4165542,
                              6    which states that the “2011-USFL” first used the mark in commerce on December 31,
                              7    2011.
                              8             29. From September 2011 to August 2014, the “2011-USFL” filed
                              9    registration applications for more “USFL” marks, some of which the USPTO granted.
                              10   The specimens for some of these marks show that they were always intended to
                              11   capture the good will of the USFL. For example, the specimen for Reg. No. 4808689
                              12   details the “2011-USFL’s” plans to “utilize [the USFL’s] historical legacy to bring
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                              13   quick brand identity to football fans,”10 even though the “2011-USFL” had no right
    LOS ANGELES, CA




                              14   to use the Real USFL’s IP and no connection to the League’s original owners.
                              15            30. On January 31, 2021, the “2011-USFL” assigned its entire interest and
                              16   “goodwill” in its registrations to World Record Headquarters, Inc. (“WRH”). The
                              17   assignment to WRH was recorded with the USPTO on February 2, 2021.
                              18            31. Starting in January 2021, WRH itself filed several standard character
                              19   trademark applications requesting registration for marks in “United States Football
                              20   League” and thirteen of the USFL’s original team names.
                              21            32. On April 1, 2021, WRH assigned its entire interest in its marks (including
                              22   those acquired from the “2011-USFL”) to The Spring League, LLC (“TSL”). The
                              23   assignment to TSL was recorded with the USPTO on April 12, 2021.
                              24            33. From March 2019 through January 2021, TSL submitted a number of
                              25   additional applications seeking registration for, among other things, marks identical
                              26   (or nearly identical) to the Real USFL IP. The USPTO has yet to grant registration
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                              28       The “2011-USFL” has no connection to the USFL or the Real USFL.
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                                        Reg. No. 4808689, Response to Office Action, May 16, 2012 at 13.
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                                                                           COMPLAINT
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                              1    to any of TSL’s applications.
                              2           34. Beginning in October 2021, another entity named NSFL Enterprises Co.,
                              3    LLC (“NSFL”) submitted several registration applications seeking for marks identical
                              4    (or nearly identical) to the Real USFL IP. The USPTO has yet to grant registration
                              5    to any of NSFL’s applications.
                              6           35. On December 6, 2021, NSFL assigned its entire interest in its marks to
                              7    Defendant USFL Enterprises, LLC. The assignment to USFL Enterprises, LLC was
                              8    recorded with the USPTO on January 4, 2022.
                              9           36. Through the TSL and USFL Enterprises, LLC registrations (including the
                              10   “2011-USFL” and WRH registrations), Fox purports to be the owner of 175 federal
                              11   trademark registrations that are identical or confusingly similar to the Real USFL IP.
                              12        D.      Fox Uses TSL’s Marks to Launch the Fox League
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                              13          37. On June 3, 2021, in a transparent attempt to benefit from decades worth
    LOS ANGELES, CA




                              14   of brand and public perception, Fox issued a press release (the “Press Release”)
                              15   announcing Fox’s plans “to bring back” “the United States Football League” (the
                              16   “Fox League”):11
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                              28      https://web.archive.org/web/20210603133652/https://www.foxsports.com/presspass/latest-news
                                   /2021/06/03/united-states-football-league-returns-2022 (highlighting added).
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                              20   At least 600 separate news outlets circulated the Press Release across the country.
                              21         38. The Press Release was not Fox’s only June 3, 2021, promotion of the
                              22   counterfeit league. In a tweet posted on two verified Fox Sports Twitter pages, Fox
                              23   announced that “The USFL is back! Catch all the action next year on FOX Sports.” 12
                              24   Embedded in the tweet is a video of “@USFLOfficial legendary QB @DougFlutie,”
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                                     https://twitter.com/FOXSports/status/1400436507559620610?s=20&t=Go6oxmS9n7Iu1wmt6R
                              28   wzlw; https://twitter.com/FOXSportsPR/status/1400437750688456720?s=20&t=6k6Vgco03z3 jbn
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                                                                          COMPLAINT
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                              1    a former Heisman Trophy winner who played his professional rookie season with the
                              2    USFL’s New Jersey Generals.
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                              21         39. Mr. Flutie—who can be seen wearing a hat bearing the USFL Generals
                              22   logo—opens the video stating “the USFL is back! See you in 2022!” He continues
                              23   on to reminisce about “our days back in the USFL,” naming Reggie White, Jim Kelly,
                              24   Steve Young, and Herschel Walker among former players in the league. As Mr. Flutie
                              25   names each of these individuals, the video displays photographs of the players
                              26   wearing Real USFL jerseys and/or playing in USFL games:
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                                                                    COMPLAINT
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                              12         40. The promotional video posted to Twitter also features Fox’s League’s
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                              13   “redesigned” USFL logo, displayed below next to the logo of the authentic USFL:
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                              14                    1980s                                      2022
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                              19   Notwithstanding this new logo, on October 21, 2021, Fox filed an application for
                              20   registration of the original USFL mark. See Serial No. 97071284.
                              21         41. Several months after its initial announcements, on November 22, 2021,
                              22   Fox announced that Fox’s League would in fact be using eight of the USFL’s team
                              23   names team logos that were either essentially identical or confusingly similar to the
                              24   original USFL logos.
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                              1              42. The similarity between Fox USFL’s team logos and the original USFL
                              2    team logos is also unquestionable, displayed side-by-side below for comparison:
                              3                          1980s                                          202213
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                              11   E.        The Original USFL Owners Push Back.
                              12             43. The same day Fox announced its new league, Mr. Ehrhart sought to set
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                              13   the record straight. In an article published in The Philadelphia Inquirer, Mr. Ehrhart
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                              14   is quoted as stating:14
                              15           I was surprised when I heard about it this morning. . . . I want to dig into it
                              16           and see who they’re claiming they acquired these rights [to the name] from.
                              17           Because it didn’t come from any legitimate source. . . . My guess is there’s
                              18           some knucklehead out there who claimed he had registered the name and
                              19           had the rights to it. We’re not being antagonistic. But if they want to do
                              20           this, they should do it the right way and talk to the actual people, not some
                              21           guy who sent in an internet registration or something like that.
                              22   Mr. Ehrhart also makes clear that the USFL marks had “been in continuous use for
                              23   nearly 40 years.”
                              24             44. When pressed for comment, Fox spokesperson Anne Pennington
                              25   confidently stated “We stand by what was in the [P]ress [R]elease.”
                              26             45. Within a few days of the Fox announcement, Mr. Ehrhart called
                              27
                                   13
                              28        https://twitter.com/USFL/status/1464285878839222272.
                                   14
                                        https://www.inquirer.com/eagles/usfl-fox-philadelphia-stars-spring-20210603.html.
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                              1    Larry Jones, Executive Vice President of Fox Sports, to inform him that the USFL
                              2    was still operating and that the League had been selling merchandise and receiving
                              3    royalties every quarter for over a decade. In July 2021, Mr. Ehrhart and Mr. Jones
                              4    discussed the issue in person in Dallas, Texas. Despite Mr. Ehrhart’s efforts to reach
                              5    a resolution at this meeting, Mr. Jones informed Mr. Ehrhart that Fox had no intention
                              6    of discussing the issue further.
                              7          46. Fox’s failure to act led Bert Deixler, former attorney for the USFL, to
                              8    send a letter on behalf of a group of the USFL’s owners, executives, and leaders to
                              9    Brian Woods notifying him that Fox’s League was misappropriating the name,
                              10   tradenames, and trademarks of the USFL and its constituent teams. Mr. Deixler
                              11   requested that Mr. Woods promptly provide the basis for claiming that he was
                              12   authorized to “relaunch” the League.
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                              13         47. On September 21, 2021, lawyers for Mr. Woods responded that the
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                              14   original USFL had been defunct for over thirty years and had abandoned its
                              15   trademarks. It also requested information regarding the team owners’ rights in any
                              16   teams and intellectual property rights. Mr. Deixler later emailed the lawyers for Mr.
                              17   Woods and indicated he would like to discuss Fox’s purported re-launch of the USFL.
                              18         48. At some point following Mr. Deixler’s email to Mr. Woods—but no
                              19   sooner than October 20, 2021—Fox Sports altered the Press Release to remove
                              20   references to a “relaunch” of the USFL and the League’s history.
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                              16         49. Despite Fox Sports efforts to alter the Press Release, Fox Sports failed to

                              17   update the URL, which continues to indicate a planned “return[]” of the USFL.

                              18   F.    Fox Sports Intimidates American Classics

                              19         50. Just two days before Christmas 2021, outside counsel for Fox—David

                              20   Bernstein of Debevoise & Plimpton—sent a cease and desist letter to

                              21   American Classics demanding that it “immediately discontinue all sale of” the USFL

                              22   Apparel and “recall all products that have been distributed to retailers.” Mr. Bernstein

                              23   set a deadline for American Classics to fully comply with the demands of 8-days—

                              24   i.e., the week between the Christmas and New Year’s holidays and in the midst of

                              25   the Omicron COVID surge—and threatened “to take all necessary action to prevent”

                              26   American Classics’ so-called “unlawful conduct.” American Classics informed Fox’s

                              27   attorney of the licenses signed by Mr. Ehrhart and provided him records of its royalty

                              28   payments, but agreed to stop selling the USFL Apparel to avoid litigation. Despite

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                              1    agreeing to stop selling the merchandise, Mr. Brown expressly reserved all of his legal
                              2    rights.
                              3    G.     Fox’s and NBC’s Repeated Misrepresentations Cause Actual Confusion in
                              4           the Media and Among Consumers
                              5              51. Notwithstanding Fox’s covert changes to the Press Release, both Fox and
                              6    its broadcast partner, NBC, have continued to misrepresent that Fox’s League and its
                              7    teams have any association with the USFL or its teams:
                              8         November 18, 2021, Ryan Gaydos, Fox News:15
                              9           “The reboot of the league was initially announced in June. The original
                              10          USFL launched in 1983 as a spring league and ran until 1985. The league
                              11          was shut down before the 1986 season started, and some of its biggest stars
                              12          – Herschel Walker, Doug Flutie, Steve Young, Reggie White, Jim Kelly
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                              13          and Gary Zimmerman – left for the NFL. This time around, the FOX
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                              14          Sports-owned league vows to deliver high-quality professional football
                              15          when the NFL heads into its offseason.”
                              16        November 22, 2021, Fox 29 Philadelphia:16
                              17          “The most successful franchise in USFL history is returning to
                              18          Philadelphia!”
                              19        November 22, 2021, Steve Crocker and Drew Dover, Fox 6 Birmingham:17
                              20          “Birmingham, Tampa and Philadelphia are the only cities in the new
                              21          version of the USFL that were represented at the birth of the original league
                              22          that played from 1983 to 1985, folding under hundreds of millions of
                              23          dollars in losses. The Stallions had strong fan support and fielded a team
                              24          that included running back Joe Cribbs, quarterback Cliff Stoudt, and kicker
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                              26
                              27   15
                                      https://www.foxnews.com/sports/usfl-what-you-need-to-know.
                                   16
                              28      https://www.fox29.com/sports/philadelphia-stars-returning-as-usfl-launches-in-april-2022.
                                   17
                                      https://www.wtvy.com/2021/11/22/birmingham-stallions-usfl-return-april-2022/.
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                              1            Scott Norwood, all of whom would move on to the NFL after the league’s
                              2            demise.”
                              3         January 6, 2022, Martin Rogers, Fox Sports:18
                              4            “The USFL, which operated on a spring/summer schedule between 1983
                              5            and ‘85, will try to do a few things upon its reincarnation. While the
                              6            majority of the rules will come from the NFL model, there will
                              7            undoubtedly be innovation, essentially a prerequisite for spring football
                              8            upstart operations that hope to make an impact. But more than anything
                              9            else, the best thing about the USFL is that it will provide football at a time
                              10           when there is perhaps more hunger for it than ever before.”
                              11        January 19, 2022, Mike Florio, NBC Sports:19
                              12           “The eight teams of the rebooted USFL will carry the names of the original
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                              13           octet of franchises from 1983. Only one of them will be geographically
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                              14           accurate.”
                              15        January 25, 2022, Chris Williams, Fox 13 Tampa Bay:20
                              16           “The reborn United States Football League announced Birmingham,
                              17           Alabama, will host all games during its inaugural season this year.”
                              18        February 18, 2022, Reuben Frank, NBC Sports Philadelphia:21
                              19           “The new USFL has no formal connection with the old USFL. The new
                              20           league’s press releases make that clear: ‘The United States Football
                              21           League is a new, independent football league . . . and it is not associated
                              22           or affiliated with the USFL of the 1980s or its owners.’ Still . . . when you
                              23           call your league the USFL and you name a team the Philadelphia Stars, it
                              24           immediately conjures up memories of spring-time football at the Vet in the
                              25
                              26   18
                                      https://www.foxsports.com/stories/usfl/usfl-will-be-welcome-addition-to-spring-sports-calendar.
                                   19
                                      https://profootballtalk.nbcsports.com/2022/01/19/usfl-will-play-all-2022-games-in-birmingham.
                              27   20
                                      https://www.fox13news.com/sports/usfl-2022-birmingham-to-host-all-football-games-in-inaugu
                              28   ral-season.
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                                      https://www.yahoo.com/video/9-memories-original-usfl-philadelphia-140018130.html.
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                              1           1980s. The original USFL only existed for three seasons – 1983 through
                              2           1985 – but for Eagles fans starving for competitive football during a
                              3           miserable period for the Eagles, it was a fun alternative. The Stars were
                              4           really good.”
                              5         February 18, 2022, Dan Roche, NBC Sports Philadelphia:22
                              6           “In case you hadn’t heard, a new-old football league is getting a re-boot in
                              7           2022. The USFL, which back in the 1980s tried unsuccessfully to compete
                              8           with the NFL and lasted just three seasons, is now back. While there’s no
                              9           legal connection between USFL-then and USFL-now, the eight teams in
                              10          the current version have identical names and locations to eight of the teams
                              11          that played nearly 40 years ago, including the Philadelphia Stars. . . . These
                              12          [Fox USFL Stars] uniforms harken back memories of the short-lived
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                              13          original Stars. Chuck Fusina, Scott Fitzkee, Brad and Bart Oates, Kelvin
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                              14          Bryant, and Pro Football Hall of Fame linebacker Sam Mills. And I can’t
                              15          wait.”
                              16           52. Fox’s (and perhaps NBC’s) misstatements and misrepresentations have
                              17   caused nearly uniform confusion among major third-party media outlets.                      For
                              18   instance:
                              19        June 7, 2021, Ben Kercheval, CBS Sports:23
                              20          “The United States Football League announced on June 3 that it would
                              21          revive the once-popular competitor to the NFL in the spring of 2022, nearly
                              22          40 years after its initial launch in 1983 and 36 years after it folded in
                              23          1986.”
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                                       https://www.nbcphiladelphia.com/news/sports/nbcsports/usfl-philly-stars-unveil-their-2022-uni
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                                   forms/3150746/.
                                   23
                              28       https://www.cbssports.com/nfl/news/usfl-2022-can-the-revived-league-avoid-the-mistakes-the-
                                   xfl-and-aaf-both-made/.
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                              1         November 22, 2021, Jeff Kerr, CBS Sports:24
                              2            “The United States Football League is prepared to give spring football
                              3            another try, and on Monday the eight teams that will open its first season
                              4            in the spring of 2022 were revealed on Fox Sports. The league chose eight
                              5            franchises that were also in the original USFL, which ran from 1983 to
                              6            1986, and retained rights to key original team names.”
                              7         January 25, 2022, Coach Duggs, Barstool Sports:25
                              8            “This first season will feature 8 teams, all reclaiming the identities of
                              9            former USFL teams. Until the Jacksonville Bulls return, I'll be cheering on
                              10           the New Jersey Generals. Who are you rooting for?”
                              11        January 25, 2022, Brian Steinberg, Variety:26
                              12           “Longtime sports fans may recall an era when teams like the Generals,
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                              13           Memphis Showboats and Houston Gamblers took to the field for three
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                              14           seasons between 1983 and 1985. Herschel Walker and Doug Flutie were
                              15           among some of the USFL’s standouts and Donald Trump was a part owner
                              16           of the New York team. . . . The USFL will launch with eight teams split
                              17           into two divisions playing in one location. In addition to the Stallions,
                              18           Houston Gamblers, New Orleans Breakers, and Tampa Bay Bandits in the
                              19           South Division, the North Division features the Michigan Panthers,
                              20           Pittsburgh Maulers, Generals, and Philadelphia Stars.”
                              21        January 28, 2022, Mike Organ, Nashville Tennessean, Yahoo! News:27
                              22           “The USFL was founded in 1982 as a spring league and the Michigan
                              23           Panthers were one of the top teams in the league. The USFL ceased
                              24
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                                        https://www.cbssports.com/nfl/news/usfl-reveals-its-eight-franchises-for-2022-reboot-ranking-
                                   nicknames-from-best-to-worst/.
                              27   25
                                      https://www.barstoolsports.com/blog/3403329/the-usfl-will-play-its-first-season-in-alabama.
                                   26
                              28      https://variety.com/2022/tv/news/usfl-fox-nbc-sports-simulcast-1235162907/.
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                                      https://news.yahoo.com/former-tennessee-titans-coach-jeff-191906394.html.
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                              1           operations in 1986. In November the USFL announced it would return in
                              2           April.”
                              3         February 10, 2022, Kevin Lewis, ABC Action News Tampa Bay:28
                              4           “The first version of the USFL played three seasons from 1983 through
                              5           1985. It was an exciting spring alternative to the NFL, and it included some
                              6           of the best talent in football history. . . . But, this year, the USFL is making
                              7           a comeback. The new version is not affiliated with the original except for
                              8           branding and mascot rights.”
                              9         February 17, 2022, Bryan DeArdo, CBS Sports:29
                              10          “The USFL is back after playing three seasons from 1983-85. Financial
                              11          challenges and an unsuccessful attempt to move the league from the spring
                              12          to the fall largely contributed to the league's short existence. Along with
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                              13          implementing several innovations (such as instant replay and two-point
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                              14          conversions), the USFL produced several future prominent NFL figures
                              15          that included future Bills coach Marv Levy, quarterbacks Steve Young and
                              16          Jim Kelly, running back Herschel Walker, pass rusher Reggie White,
                              17          linebacker Sam Mills, and offensive lineman Gary Zimmerman, among
                              18          others.”
                              19        February 19, 2022, Joe Hoefling, Deadspin:30
                              20          “If you’re like me, looking for anything football-related to fill the void that
                              21          the end of the NFL season left in your soul, then you were probably
                              22          jumping for joy when the USFL revealed their uniforms for their first
                              23          season since 1985.”
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                                      https://www.abcactionnews.com/sports/tampa-bay-bandits-return-with-new-usfl.
                              27   29
                                      https://www.cbssports.com/nfl/news/usfl-reveals-official-order-for-inaugural-player-draft-forme
                              28   r-nfl-coach-jeff-fishers-team-has-first-pick/.
                                   30
                                      https://deadspin.com/style-over-substance-ranking-every-usfl-team-based-on-1848568129.
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                              1          53. The consensus reaction to Fox’s announcements was one of universal
                              2    excitement, not about a new football league, but about the return of what Fox heralded
                              3    as the original USFL—just as Fox announced. Indeed, countless fans posted to social
                              4    media expressing their desire to root for a team they knew from childhood.
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                              1          54. In yet another attempt to improperly profit off the legacy USFL, on
                              2    December 17, 2021, Fox announced—less than 30 days after the team names were
                              3    announced—that its “league and team accounts have already accumulated 100,000
                              4    fans across social media.”
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                              22        H.    Fox Executives Continue to Promote the Fox USFL as a “Relaunch”
                              23         55. Notwithstanding Fox’s PR team’s clandestine corrections to the Press
                              24   Release, Fox executives continue to gush over the prospect of relaunching the
                              25   nostalgic USFL brand. For example, on February 8, 2022, Edward Hartman, Fox’s
                              26   Senior Vice President of Digital Partnerships and Wagering and is now also serving
                              27   as Executive Vice President of Fox USFL made an appearance on Fox video podcast
                              28   OutKick 360. When asked about the importance of connecting the team to their
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                              1    intended local market despite the fact that the all of Fox’s League’s 2022 games will
                              2    be played in Birmingham, Alabama,31 Mr. Hartman responded:32
                              3            That’s a great question, Paul. It’s something that we’re laser-focused on. I
                              4            think, part of the brilliance of Eric Shanks [(Fox Sports’ CEO and
                              5            Executive Producer)] and Brian Woods acquiring the USFL IP was that
                              6            there is incredible nostalgic equity value in those marks. You know the
                              7            amount of folks to come of the woodwork on social and elsewhere who
                              8            went to USFL games 30 years ago and now want to take their kids 30 years
                              9            later has been quite incredible. You’re seeing it in the massive social
                              10           following we’ve been able to amass in a short period of time. And so we
                              11           think we’ve got, you know, a big tailwind given that IP has so much equity
                              12           value in it.
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                              13            56. Fox’s League President, Brian Woods, has likewise made a number of
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                              14   comments to the media in recent weeks attributing the anticipated success of the Fox
                              15   USFL to the legacy brand:
                              16        February 7, 2022, Interview with Detroit News:33
                              17           “What we found after we made our initial announcement and as we continue to
                              18           make announcements, there is a fan base out there. Fans are pulling out their old
                              19           memorabilia, whether it be game programs or ticket stubs. . . . These teams were
                              20           once in those markets. There’s certainly a connection. . . . [It’s like] we're
                              21           starting on second base. This is a known brand.”
                              22        February 10, 2022, Interview with CBS 2 Pittsburg:34
                              23           “Pittsburgh is definitely an area that country that is has always shown to be
                              24           supportive of professional football, the Maulers were very unique and important
                              25
                              26   31
                                      https://www.foxsports.com/stories/usfl/usfl-everything-you-need-to-know
                                   32
                                      https://youtu.be/rh-ah2S58EQ?t=2068.
                              27   33
                                      https://www.detroitnews.com/story/sports/other/2022/02/07/michigan-panthers-nostalgia-among
                              28   -keys-usfl-survival/6691921001/ .
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                                      https://pittsburgh.cbslocal.com/2022/02/10/interview-with-usfl-president-brian-woods/.
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                              1         brand of the USFL. . . . I think you can make a strong argument that had the
                              2         USFL stayed in the spring, just the first iteration of the USFL I speak of back in
                              3         the 1980s. Had they continued to operate in the spring, they might still be here
                              4         today.”
                              5    I.     The Real USFL Steps In
                              6          57. After being contacted numerous times by members of the public confused
                              7    by Fox’s actions, and fearing that Fox’s deception would damage their personal
                              8    reputation and the legacy of the USFL that they created, numerous former owners and
                              9    executives of the League formed the Real USFL to hold and enforce their rights.
                              10   These individuals have each assigned all relevant rights to the Real USFL. Assignors
                              11   include the former owners or their heirs of the Birmingham Stallions,
                              12   Philadelphia/Baltimore Stars, Michigan Panthers, Houston Gamblers, New Orleans
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                              13   Breakers, Jacksonville Bulls, Oklahoma/Arizona Outlaws, Tampa Bay Bandits,
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                              14   Oakland Invaders, and Memphis Showboats.
                              15   J.     Fox Moves Ahead with Its Counterfeit League
                              16         58. In spite of its full knowledge of at least 11 years’ continuous use of the
                              17   USFL marks, Fox has continued marketing its counterfeit league as a “relaunch” of
                              18   the USFL. Fox has announced that it will open training camps on March 21, 2022
                              19   and Fox League’s inaugural game is scheduled for April 16, 2022.
                              20                               FIRST CLAIM FOR RELIEF
                              21               (Lanham Act § 1125(a)(1)(A)—Trademark Infringement)
                              22         59. The Real USFL incorporates and realleges by reference each and every
                              23   paragraph herein as if set forth in full in this count.
                              24         60. The Real USFL holds valid and legally protectable marks in the Real
                              25   USFL IP associated with the USFL teams (e.g., the team names and team logos). The
                              26   Real USFL’s interest in the team marks are indisputably senior to Defendants as
                              27   TSL’s earliest claim to any team marks is 2019, the date on which TSL began
                              28   applying for trademark registration.
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                              1          61. The Real USFL also holds valid and legally protectable marks in the Real
                              2    USFL IP associated with the league (e.g. “USFL,” the USFL logo, and “United States
                              3    Football League”). The Real USFL’s interest in the league marks are senior to
                              4    Defendants as TSL’s earliest claim to the marks is December 31, 2011, TSL’s stated
                              5    first use in Reg. No. 4165542.
                              6          62. Defendants have infringed upon the Real USFL IP by, among other
                              7    things, knowingly and willfully (i) adopting nearly identical league and team marks
                              8    and logos of an existing and well-known brand, (ii) producing and selling fan apparel
                              9    bearing the infringed USFL marks, (iii) intentionally misleading consumers to believe
                              10   the USFL was returning, and (iv) by using the domain name “theusfl.com.”
                              11         63.    As a result of Defendants’ conduct, the public and potential consumers
                              12   of the types of products and services Defendants offer are highly likely to be confused
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                              13   and deceived. Indeed, as explained by Fox’s own executives, consumers have been
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                              14   overwhelmingly confused by Fox’s intentionally misleading statements and have
                              15   expressly chosen to follow the counterfeit league as a result of Fox’s deception.
                              16         64. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              17   has suffered irreparable harm and will continue to suffer such harm unless Defendants
                              18   are enjoined from such further conduct.
                              19                             SECOND CLAIM FOR RELIEF
                              20                    (Lanham Act § 1125(a)(1)(B)—False Advertising)
                              21         65. The Real USFL incorporates and realleges by reference each and every
                              22   paragraph herein as if set forth in full in this count.
                              23         66. In the months following the Fox USFL’s announcement, Defendants have
                              24   published several intentionally false or misleading statements claiming to have a
                              25   connection with the USFL’s historical origins. Such false statements include, but are
                              26   not limited to, (i) the Press Release that was disseminated and reported on by hundreds
                              27   of news outlets across the country, (ii) Fox’s Twitter post promoting the league with
                              28   former star USFL quarterback Doug Flutie; (iii) Fox USFL’s president, Brian Woods
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                                                                        COMPLAINT
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                              1    public statements on February 7 and 10, 2022; and (iv) Fox USFL’s executive vice
                              2    president, Ed Hartman’s public statements on February 8, 2022.
                              3          67. Fox statements were false, because Fox had no connection with the
                              4    original USFL, as it now admits in its updated Press Release: “[T]he new USFL is
                              5    not associated or affiliated with th[e] [original] league or its owners.”
                              6          68. Fox also put these statements in interstate commerce by publishing them
                              7    on its website and using them to sell its merchandise nationwide. Fox’s marketing
                              8    and communications continues to suggest association with the old league.
                              9          69. As a result of Defendants’ conduct, the public and potential consumers of
                              10   the types of products and services Defendants offer are likely to be confused and
                              11   deceived. Indeed, as explained by Fox’s own executives, consumers have been
                              12   overwhelmingly confused by Fox’s intentionally misleading statements and have
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                              13   expressly chosen to follow the counterfeit league as a result of Fox’s deception.
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                              14         70. Defendants’ actions have been and continue to be knowing and willful.
                              15         71. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              16   has suffered irreparable harm and will continue to suffer such harm unless Defendants
                              17   are enjoined from such further conduct.
                              18                              THIRD CLAIM FOR RELIEF
                              19                    (Lanham Act § 1125(a)(1)(a)—False Association)
                              20         72. The Real USFL incorporates and realleges by reference each and every
                              21   paragraph herein as if set forth in full in this count.
                              22         73. Defendants have violated federal trademark law by passing themselves
                              23   off as the USFL and leveraging the league’s “incredible nostalgic equity value” to
                              24   create interest in their own league. Specifically, Defendants have falsely associated
                              25   themselves with the original USFL, by, among other things, knowingly and willfully
                              26   (i) making express and intentional misstatements in the Press Release and subsequent
                              27   in public statements, (ii) by using of confusing similar logos and team names, (iii) by
                              28   calling the Fox USFL the “United States Football League,” and (iv) by using the
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                                                                        COMPLAINT
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                              1    domain name “theusfl.com.” In doing so, Defendants falsely designate the origin of
                              2    their league and falsely convey an association and affiliation with, as well as a
                              3    sponsorship by, the USFL.
                              4          74. Defendants’ actions have been and continue to be knowing and willful.
                              5          75. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              6    has suffered irreparable harm and will continue to suffer such harm unless Defendants
                              7    are enjoined from such further conduct.
                              8                              FOURTH CLAIM FOR RELIEF
                              9             (Cal. Bus. & Prof. Code §§ 17200, et seq.—Unfair Competition)
                              10         76. The Real USFL incorporates and realleges by reference each and every
                              11   paragraph herein as if set forth in full in this count.
                              12         77. As described herein, Defendants have engaged in fraudulent, unfair and
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                              13   unlawful conduct in violation of Cal. Bus. & Prof. Code §§ 17200 et seq. Specifically,
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                              14   Defendants have competed unfairly by, among other things, knowingly and willfully
                              15   (i) making express and intentional misstatements in the Press Release and subsequent
                              16   in public statements, (ii) by using of confusing similar logos and team names, (iii) by
                              17   calling the Fox USFL the “United States Football League,” and (iv) by using the
                              18   domain name “theusfl.com.” In doing so, Defendants falsely designate the origin of
                              19   their league and falsely convey an association and affiliation with, as well as a
                              20   sponsorship by, the USFL.
                              21         78. Defendants’ actions have been and continue to be knowing and willful.
                              22         79. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              23   has suffered injury and irreparable harm and will continue to suffer such injury and
                              24   irreparable harm unless Defendants are enjoined from such further conduct.
                              25                               FIFTH CLAIM FOR RELIEF
                              26                 (Cal. Bus. & Prof. Code §§ 17500—False Advertising)
                              27         80. The Real USFL incorporates and realleges by reference each and every
                              28   paragraph herein as if set forth in full in this count.
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                                                                        COMPLAINT
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                              1          81. In the months following the Fox USFL’s announcement, Defendants have
                              2    published several intentionally false or misleading statements claiming to have a
                              3    connection with the USFL’s historical origins. Such false statements include, but are
                              4    not limited to, (i) the Press Release that was disseminated and reported on by hundreds
                              5    of news outlets across the country, (ii) Fox’s Twitter post promoting the league with
                              6    former star USFL quarterback Doug Flutie; (iii) Fox USFL’s president, Brian Woods
                              7    public statements on February 7 and 10, 2022; and (iv) Fox USFL’s executive vice
                              8    president, Ed Hartman’s public statements on February 8, 2022.
                              9          82. Fox statements were false, because Fox had no connection with the
                              10   original USFL, as it now admits in its updated Press Release: “[T]he new USFL is
                              11   not associated or affiliated with th[e] [original] league or its owners.”
                              12         83. Fox also put these statements in interstate commerce by publishing them
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                              13   on its website and using them to sell its merchandise nationwide. Fox’s marketing
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                              14   and communications continues to suggest association with the old league.
                              15         84. As a result of Defendants’ conduct, the public and potential consumers of
                              16   the types of products and services Defendants offer are likely to be confused and
                              17   deceived. Indeed, as explained by Fox’s own executives, consumers have been
                              18   overwhelmingly confused by Fox’s intentionally misleading statements and have
                              19   expressly chosen to follow the counterfeit league as a result of Fox’s deception.
                              20         85. Defendants’ actions have been and continue to be knowing and willful.
                              21         86. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              22   has suffered irreparable harm and will continue to suffer such harm unless Defendants
                              23   are enjoined from such further conduct.
                              24                               SIXTH CLAIM FOR RELIEF
                              25                 (California Common Law—Trademark Infringement)
                              26         87. The Real USFL incorporates and realleges by reference each and every
                              27   paragraph herein as if set forth in full in this count.
                              28         88. The Real USFL holds valid and legally protectable marks in the Real
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                              1    USFL IP associated with the USFL teams (e.g. the team names and team logos). The
                              2    Real USFL’s interest in the team marks are indisputably senior to Defendants as
                              3    TSL’s earliest claim to any team marks is 2019, the date on which TSL began
                              4    applying for trademark registration.
                              5          89. The Real USFL also holds valid and legally protectable marks in the Real
                              6    USFL IP associated with the league (e.g. “USFL,” the USFL logo, and “United States
                              7    Football League”). The Real USFL’s interest in the league marks are senior to
                              8    Defendants as TSL’s earliest claim to the marks is December 31, 2011, TSL’s stated
                              9    first use in Reg. No. 4165542.
                              10         90. Defendants have infringed upon the Real USFL IP by, among other
                              11   things, knowingly and willfully (i) adopting nearly identical league and team marks
                              12   and logos of an existing and well-known brand, (ii) producing and selling fan apparel
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                              13   bearing the infringed USFL marks, (iii) intentionally misleading consumers to believe
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                              14   the USFL was returning, and (iv) by using the domain name “theusfl.com.”
                              15         91.    As a result of Defendants’ conduct, the public and potential consumers
                              16   of the types of products and services Defendants offer are highly likely to be confused
                              17   and deceived. Indeed, as explained by Fox’s own executives, consumers have been
                              18   overwhelmingly confused by Fox’s intentionally misleading statements and have
                              19   expressly chosen to follow the counterfeit league as a result of Fox’s deception.
                              20         92. As a direct and proximate result of Defendants’ conduct, the Real USFL
                              21   has suffered irreparable harm and will continue to suffer such harm unless Defendants
                              22   are enjoined from such further conduct.
                              23                            SEVENTH CLAIM FOR RELIEF
                              24                 (Petition for Cancellation of Trademark Registration)
                              25         93. The Real USFL incorporates and realleges by reference each and every
                              26   paragraph herein as if set forth in full in this count.
                              27         94. The Real USFL holds valid and legally protectable marks in the Real
                              28   USFL IP associated with the USFL teams (e.g. the team names and team logos). The
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                              1    Real USFL’s interest in the team marks are indisputably senior to Defendants as
                              2    TSL’s earliest claim to any team marks is 2019, the date on which TSL began
                              3    applying for trademark registration.
                              4          95. The Real USFL also holds valid and legally protectable marks in the Real
                              5    USFL IP associated with the league (e.g. “USFL,” the USFL logo, and “United States
                              6    Football League”). The Real USFL’s interest in the league marks are senior to
                              7    Defendants as TSL’s earliest claim to the marks is December 31, 2011, TSL’s stated
                              8    first use in Reg. No. 4165542.
                              9          96. Defendants’ actions as alleged herein violate 15 U.S.C. § 1064(3) because
                              10   they have misrepresented the Fox USFL as an heir to the original USFL. Such false
                              11   statements include, but are not limited to, (i) the Press Release that was disseminated
                              12   and reported on by hundreds of news outlets across the country, (ii) Fox’s Twitter
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                              13   post promoting the league with former star USFL quarterback Doug Flutie; (iii) Fox
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                              14   USFL’s president, Brian Woods public statements on February 7 and 10, 2022; and
                              15   (iv) Fox USFL’s executive vice president, Ed Hartman’s public statements on
                              16   February 8, 2022. Indeed, the prosecution history of the “2011-USFL” marks shows
                              17   that Fox’s marks were always intended “utilize [the USFL’s] historical legacy to bring
                              18   quick brand identity to football fans.”
                              19         97. The Real USFL is being irreparably harmed and damaged by Defendants’
                              20   registration of the USFL mark, and therefore requests that the registrations listed in
                              21   Appendix A be canceled.
                              22                              EIGTH CLAIM FOR RELIEF
                              23                                  (Declaratory Judgment)
                              24         98. The Real USFL incorporates and realleges by reference each and every
                              25   paragraph herein as if set forth in full in this count.
                              26         99. The Real USFL holds valid and legally protectable marks in the Real
                              27   USFL IP associated with the USFL teams (e.g. the team names and team logos). The
                              28   Real USFL’s interest in the team marks are indisputably senior to Defendants as
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                                                                        COMPLAINT
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                              1    TSL’s earliest claim to any team marks is 2019, the date on which TSL began
                              2    applying for trademark registration.
                              3          100. The Real USFL also holds valid and legally protectable marks in the Real
                              4    USFL IP associated with the league (e.g. “USFL,” the USFL logo, and “United States
                              5    Football League”). The Real USFL’s interest in the league marks are senior to
                              6    Defendants as TSL’s earliest claim to the marks is December 31, 2011, TSL’s stated
                              7    first use in Reg. No. 4165542.
                              8          101. Defendants’ unauthorized activities as alleged herein have created
                              9    confusion among the consuming public, are likely to deceive customers of the source
                              10   or sponsorship of such goods and services, and will otherwise mislead the consuming
                              11   public as to the origin of the goods and services sold by or on behalf of Defendants.
                              12   Specifically, Defendants have misrepresented the Fox USFL as an heir to the original
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                              13   USFL. Such false statements include, but are not limited to, (i) the Press Release that
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                              14   was disseminated and reported on by hundreds of news outlets across the country, (ii)
                              15   Fox’s Twitter post promoting the league with former star USFL quarterback Doug
                              16   Flutie; (iii) Fox USFL’s president, Brian Woods public statements on February 7 and
                              17   10, 2022; and (iv) Fox USFL’s executive vice president, Ed Hartman’s public
                              18   statements on February 8, 2022. Indeed, the prosecution history of the “2011-USFL”
                              19   marks shows that Fox’s marks were always intended “utilize [the USFL’s] historical
                              20   legacy to bring quick brand identity to football fans.”
                              21         102. The Real USFL therefore seeks and is entitled to a Declaratory Judgment
                              22   declaring that: (a) the Real USFL’s common law trademarks are valid; (b)
                              23   Defendants’ infringing use are violative of the Real USFL’s rights; (c) Defendants’
                              24   common law trademarks, if any, are invalid and unenforceable; and (d) Defendants
                              25   must immediately cease and desist use of USFL team and league marks.
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                              1                                  PRAYER FOR RELIEF
                              2          WHEREFORE, Plaintiff the Real USFL prays that this Court provide relief by:
                              3          1.    Preliminarily and permanently enjoining and restraining each of the
                              4    Defendants, and each of their officers, directors, agents, employees and all other
                              5    individuals, firms, corporations, associations and partnerships affiliated, associated or
                              6    acting in concert with them, from using the Real USFL IP, including “USFL,”
                              7    “United States Football League,” any of the original 18 USFL team names and logos,
                              8    or any other mark, symbol, name, domain name or logo that is likely to cause
                              9    confusion or to cause mistake or to deceive people into believing that Defendants or
                              10   any services or goods that Defendants entered into the stream of commerce originate
                              11   from the Fox USFL is in any way sponsored, endorsed, licensed by the original USFL
                              12   or the Real USFL, or are affiliated with the original USFL or the Real USFL;
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                              13         2.    Preliminarily and permanently enjoining and restraining each of the
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                              14   Defendants, and each of their officers, directors, agents, employees and all other
                              15   individuals, firms, corporations, associations and partnerships affiliated, associated or
                              16   acting in concert with them, from falsely stating that they are the original USFL or
                              17   any related entity, or that they are associated in any way with the original USFL or
                              18   the Real USFL or their projects;
                              19         3.    Ordering Defendants to provide the Real USFL an accounting of their
                              20   profits and advantages received from improperly using the Real USFL IP and the
                              21   original USFL’s logos and team names;
                              22         4.    Ordering that the domain name www.theusfl.com be transferred to the
                              23   control of the Real USFL;
                              24         5.    Ordering that Defendants take all available steps to retract and correct
                              25   statements made in other media or to actual or potential customers and business
                              26   partners concerning their relationship with the original USFL or the Real USFL and
                              27   their accomplishments;
                              28         6.    Awarding the Real USFL its reasonable attorneys’ fees and costs pursuant
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                              1    to 15 U.S.C. § 1117 or as allowed by any other statute or legal doctrine, including
                              2    California Code of Civil Procedure § 1021.5;
                              3          7.   Awarding the Real USFL such other and further relief or remedy that the
                              4    Court may deem just and proper.
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                                                                     COMPLAINT
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                              1     DATED: February 28, 2022           MCKOOL SMITH HENNIGAN, P.C.
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                                                                   COMPLAINT
